Case 2:98-cv-05591-LR Document 292-12 Filed 09/07/06 Page 1 of 9

EXHIBIT 14
se

aE

ante E
dh

24

25

Case 2:98-cv-05591-LR Document 292-12 Filed 09/07/06 Page 2 of 9

ORIGINAL 1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF PENNSYLVANIA

ae ee ee ee Ee Ee ee eee ee ee ee a ee Ee X
AMERICAN CIVIL LIBERTIES UNION, et al.,
-Plaintiffs,
. Case No.
-against-— 98-CV-5591

ALBERTO R. GONZALEZ, in his official
capacity as Attorney General of the
United States,

Defendant.

-- DAILY COPY --

February 21, 2006
9:40 A.M. oo

885 Third Avenue.
New York, New York

DEPOSITION of NERVE MEDIA, one of the
Plaintiffs herein, by RUFUS GRISCOM, taken by

the Defendant, pursuant to.Notice.

ARISTA COURT REPORTING CO.
192 Lexington Avenue
Suite 802
New York, New York 10016
(212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-12 Filed 09/07/06 Page 3 of 9

16

RUFUS GRISCOM

answer.

A. . Yeah, that does it because there
are more and more self-regulating pop-up
blockers that people have on their own
browsers. Pop-ups are becoming less effective
every time as an advertising vehicle.

Q. Do some of your advertisers pay for

links on your web page?

A. Yes, we have a text link section.

Q. Do you have any policy regarding
what types of web sites you will allow to link
to Nerve.com?

A. We do, yes. We, you know, we have
guidelines about advertisers in general on the
site, and we for instance do not accept
advertising from marital aid companies that
sell, you know, you know, you know, vibrators
and dildos and that kind of thing. So, we
don't accept that kind of advertising even
though I might point out a lot of relatively
conservative publications does have ads, ads
for marital aids. We don't. We also don't
accept, you know, what, you know, more explicit

adult advertising on the site.

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-12 Filed 09/07/06 Page 4 of 9

RUFUS GRISCOM

Q. Do you not accept it in any form?

A. That our policy is not to accept
it, yeah.

Q. Do you have any links now to any
porn sites on Nerve.com?

A. There may be some. Well, first of
all, you know, I think that the definition of

what a porn site is, is rather hazy. It's not

exactly clear to me what is and what isn't a
porn site, but we have a policy of not linking
to or accepting advertisements from sites that
we believe reflect badly on our brand because
we do have, you know, a number of very large
Mainstream advertisers and we don't want to
scare them away, and also we don't want reader
to sort of have the wrong impression of what
our, of the context of our content.

But we certainly, you know, we
certainly have linked to explicit web sites
before particularly for covering something
editorially, and so the answer is that, you
know, it's not a totally clear black and white
distinction for us, but we are careful of what

we accept.

ARISTA COURT REPORTING CO. (212) 684-6100

17

Ss
Case 2:98-cv-05591-LR Document 292-12 Filed 09/07/06 Page 5 of 9

20

RUFUS GRISCOM
of is, you know, it's somewhat different in the
sense that titillation tends not to be the
primary objective of any of our content whether
it's photography or writing.

That said a lot of it is very
explicit and may be titillating. There's
little doubt in my mind that within, you know,
our readers definitely see our content as
being, you know, very smart, you know, serious,
award-winning content. However, the average
American would probably see our content as
being very different. So, we're tuned into the
interest of our readers and our advertisers are
in sort of somewhat the same community.

Q. Is it fair to say, then, that
Nerve.com is not designed to appeal to the
prurient interest of the readers?

MR. WIZNER: Objyection. Calls for

a legal conclusion. Objection, vague.

You can answer.

A. I think it does appeal to prurient
interests. I think that, you know, perhaps a
better way of saying it is we're interested in

both titillating, which I sometimes refer to as

ARISTA COURT REPORTING CO. (212) 684-6100
24

25

Case 2:98-cv-05591-LR Document 292-12 Filed 09/07/06 Page 6 of 9

57
RUFUS GRISCOM

Q. Have you purchased ads anywhere?

A. Not traditional advertising.

We've, you know, we've done a few very small
promotions on other web sites totalling less
than ten thousand doilars of expense.

Q. What web sites?

A. Fark is a sort of what's cool kind
of web site. So, we've made some very small
participatory --

Q. Any other web sites?

A. Not to my knowledge, no.

Q. Have you ever placed an ad with any

pornographic web sites?

A. No, certainly not.

Q. Have you ever placed a link to.
Nerve.com on any pornographic web sites?

MR. WIZNER: I'm going to object as
vague, but you can answer.

A. No. I mean they -- when you say
place a link, there are many, many sites that
link to us, but we don't, you know. I don't
know what you mean when you say place a link.

Q. Have you taken any steps to

associate yourself with any pornographic web

ARISTA COURT REPORTING CO. (212) 684-6100
Case 2:98-cv-05591-LR Document 292-12 Filed 09/07/06 Page 7 of 9

RUFUS GRISCOM
sites?

MR. WIZNER: I'm going to have a
running objection as vague, but go ahead
and answer.

A. No.
Q. Does Nerve have any business

partnerships with other companies?

A. Sure. Yeah, we do.
Q. Could you explain further?
A. Well, I mean one example would be

that we have, you know, there's a mobile phone
content distribution company called Mobile
Play, so Nerve content is syndicated on Mobile
Play along with other content providers'
content.

We've syndicated some of our
columns, some of our content on our web site
including Lava Light and Chicago Sun Times.

Q. What about your personal ad
section, do you partner with other companies
for that service?

A. Yes. We actually, we -- I
co-founded and was chairman of a little

technology company called Spring Street Network

ARISTA COURT REPORTING CO. (212) 684-6100
Case 2:98-cv-05591-LR Document 292-12 Filed 09/07/06 Page 8 of 9

79
RUFUS GRISCOM

Q. T'll move on.

Let's turn now to Page 108 in
Exhibit A where it lists awards that Nerve.com
has-won. Would you mind just reading this list
of awards here?

A. You're going bo make me blush.

2004 for Best of the Web Selection. 2004 for
American Photography I think it's 2.0 Award.
2001 Glad Outstanding Digital Journalism Award.
2001 Webbie Judges Award Print and Design.

2000 Marble Magazine Award Nominee Online
Design. 1999 Entertainment Weekly's 30 Most
Beautiful Sites Selections.

Q. Have you ever received any other
awards?

A. Yeah, actually the one that we're
most excited about is the last year 2005 we
were one of five finalists for the National
Magazine Award For General Excellence Online.

Q. Who else was nominated?

A. The other nominees were an Atlantic

Monthly, Consumer Reports, Business Week and

Style.com.

Q. You must be pleased to be grouped

ARISTA COURT REPORTING CO. (212) 684-6100
Case 2:98-cv-05591-LR Document 292-12 Filed 09/07/06 Page 9 of 9

133
RUFUS GRISCOM

A. That's right.

Q. You've never been threatened with
any investigation or prosecution for any
reason?

A. That's correct.

Q. You've also said that you think the

content on your web site has serious value for

Minors; is that correct?

MR. WIZNER: Objection.

Mischaracterizes the testimony, but you

can answer.

A. No, I don't think that's correct.
I think what I've said is I think it has the
value for some minors, which is to say older
minors who appreciate, you know, our content,

but I think that there are younger minors for

whom, you know, it does not have artistic value

and older minors that adults who, you know,
don't get it.

Q. I'd like to look through some of

the pages that you cited in either the Amended

Complaint or in your Response to Interrogatory

13 pages for which you said you fear

prosecution under COPA. The first one I'd like

ARISTA COURT REPORTING CO. (212) 684-6100
